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                                                                          United States District Court
                                                                            Southern District of Texas

                                                                               ENTERED
                                                                             August 27, 2024
                        UNITED STATES DISTRICT COURT
                                                                            Nathan Ochsner, Clerk
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION


JAMES-THOMAS ENGLISH,                       §
      Plaintiff,                            §
                                            §
VS.                                         §         CIVIL ACTION NO. 4:24-CV-00283
                                            §
UNITED STATES OF AMERICA, et al.,           §
      Defendants.                           §

                                 FINAL JUDGMENT

      Pursuant to the Court’s Memorandum Opinion and Order (Dkt. 49) entered in this

case, Plaintiff’s federal-law claims are DISMISSED, and the remainder of Plaintiff’s

claims are DISMISSED WITHOUT PREJUDICE.

      Each party shall bear its own fees and costs.

      THIS IS A FINAL JUDGMENT.

       SIGNED at Houston, Texas on August 27, 2024.


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                                                     GEORGE C. HANKS, JR.
                                                 UNITED STATES DISTRICT JUDGE
